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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

       REALTEK SEMICONDUCTOR
       CORPORATION,

                  Plaintiff,                               C.A. No. 24-1235-GBW

       v.

       AVAGO TECHNOLOGIES
       INTERNATIONAL SALES PTE. LTD,
       BROADCOM CORP., and BROADCOM
       INC.,

                  Defendants.

                   PLAINTIFF REALTEK SEMICONDUCTOR CORPORATION’S
                              MOTION FOR ATTORNEYS’ FEES

              Plaintiff Realtek Semiconductor Corporation (“Realtek”) files this Motion for Attorneys’

  Fees under 28 U.S.C. § 1447(c) and Fed. R. Civ. P. 54(d)(2)(B) (the “Motion”).

  Contemporaneously with this Motion, Realtek files an Opening Brief in Support, which is fully

  incorporated herein by reference for all purposes.

   Dated: December 26, 2024                              K&L GATES LLP

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